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10                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
11                                  OAKLAND DIVISION

12
      MARIA ZURABOVA                                         CASE NO. 4:23-CV-00953-JST
13     Plaintiff,                                            Assigned to the Honorable Jon S. Tigar in
                                                             Courtroom 6
14    v.
                                                             [PROPOSED] ORDER GRANTING
15    BLOCK, INC.;                                           PLAINTIFF MARIA ZURABOVA’S
      SQUARE CAPITAL, LLC; and                               REQUEST FOR JUDICIAL NOTICE IN
16    SQUARE FINANCIAL SERVICES, INC.                        SUPPORT OF OPPOSITION TO
       Defendants.                                           DEFENDANTS’ MOTION TO DISMISS
17
                                                             Date: September 14, 2023
18                                                           Time: 2:00 p.m.
                                                             Ctrm.: 6
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                  [Proposed] Order Granting Plaintiff Maria Zurabova’s Request for Judicial Notice
                                          Case No. 4:23-CV-00953-JST
                 Case 4:23-cv-00953-JST Document 36-6 Filed 07/13/23 Page 2 of 2



 1          On July 13, 2023, Plaintiff Maria Zurabova filed her Request for Judicial Notice in

 2   Support of Opposition to Defendants’ Motion to Dismiss. The Court, having considered

 3   Plaintiff’s Request and finding good cause, hereby Orders as follows:

 4          1.       The Request for Judicial Notice is GRANTED.

 5   IT IS SO ORDERED.

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 7   DATED: __________________                         ________________________________
                                                       THE HONORABLE JON S. TIGAR
 8                                                     UNITED STATES DISTRICT JUDGE

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                    [Proposed] Order Granting Plaintiff Maria Zurabova’s Request for Judicial Notice
                                            Case No. 4:23-CV-00953-JST
